Case 1:04-cr-10099-.]DT Document 42 Filed 04/20/05 Page 1 of 2 Page|D 47
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Western District of Tennessee

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United States of America ) WD O i£" £.JACKSON
)
vs )
)
Gurdiel Singh ) Case No. 04-10099-01

CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Gurdiel Singh, have discussed with Carolyn W. Moore, Pretrial Services, modification of
my release conditions as ‘follows t

Defendant is restricted in residence and travel to the Western District of Tennessee and the
Western District of Michigan and points in between without prior approval from Pretrial

Services.

I consent to this modification of my release conditions and agree to abide by this modification

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Signatnre of Defendant Date Pretria| Servi!es Off`lcer-ln-Charge Date
I ve viewed t tions with my client and concur that this modification is appropriate
r`»

Signature of nse unsel Date

[,V[M)ve modification of conditions of release is ordered, to be effective on W MS,

[ ] The above modification of conditions of release is n_ot ordered.

 

Thls document entered on the docket sheet tn eompllance

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with Flu\e 55 andlor 32(b) FRCrP on ______________,_...__._-»

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"TDISRICT COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case l:04-CR-10099 was distributed by faX, mail, or direct printing on
April 21, 2005 to the parties listed.

 

Timothy J. Crocker

LAW OFFICE OF TIMOTHY CROCKER

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

